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                               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                           www.flsb.uscourts.gov
                                          CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                            Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                            Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

 DEBTOR: Jose De Jesus Basilio                                            JOINT DEBTOR: Iraida Fernandez                      CASE NO.:       16-21346
 Last Four Digits of SS# xxx-xx-4785                                     Last Four Digits of SS# xxx-xx-4118

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion not collected will be paid
to the creditors pro-rata under the plan:
           A.       $          1,847.97   for months           1      to       12       ;
           B.       $          1,761.43 for months            13      to       60       ;
           C.       $                     for months                  to                ; in order to pay the following creditors:
 Administrative: Attorney's Fee - $                  6,775.00       TOTAL PAID $                      3,500.00
                     Balance Due        $            3,275.00 payable $ 272.92                   /month (Months          1 to      12 )
Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
    Ocwen Loan Servicing
    POB 24738
 1. WPB, FL 33418                                                    MMM                           $ 1,390.26 Mos (1 to 60 )
                                                                       Arrears Payment $                        /month (Months 0 to 0 )
      Account No: xxxxxxxxx2833                                        Regular Payment $                        /month (Months 0 to 0 )
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

                                                            Description of Collateral
             Secured Creditor                                and Value of Collateral    Interest Rate       Plan Payments Months of Payment    Total Plan Payments
 American Servicing Co.
 1 Home Campus                                          300 NW 107 Ave Unit
 Des Moines, IA 50328                                    101 Miami, FL 33172
 (2nd mortgage)                                             (non-homestead)
 Acct #xxxxx9250                                 $                127,788.00                0%          $          0.00       0 To 0                             0.00

Priority Creditors: [as defined in 11 U.S.C. §507]
      -NONE-                          Total Due $
                                      Payable       $                        /month          (Months to )                    Regular Payment $
Unsecured Creditors: Pay $ 195.03 /month (Months 13 to 60 ).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:
Rejected Contracts and/or Leases
 -NONE-
 Assumed Contracts and/or Leases
 -NONE-

             Special Intentions:
             Ally Financial: Debtor will pay claim directly.
             Caliber Home Loans: Debtor will pay claim directly.
             Laguna Club East Condominium: Debtor will pay claim directly.
             Santander Consumer USA: Debtor will pay claim directly.




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I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 /s/ Jose De Jesus Basilio                                           /s/ Iraida Fernandez
 Jose De Jesus Basilio                                               Iraida Fernandez
 Debtor                                                              Joint Debtor
 Date: September 29, 2016                                            Date: September 29, 2016




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